Case 2:01-cr-20250-SH|\/| Document 96 Filed 06/08/05 Page 1 of 2 Page|D 116

 

rnoaiz
(Rev.J.'SB}
IT _ DIS RIC OURT
UN El) sTATEs T T C pnm EY% D'C‘
for l
05 JUN-B AHH= 57
WESTERN DISTRICT OF TENNESSEE RGBERT a m ,;HGUO
CLEF?`Y€. U.S. DiST. CT.
WESTERN DIVISI()N W.D. {JF 's"t‘.i, t».faiEMPl-HS
U.S.A. vs. CARMEN BINNS Docket No. _ZEQMI]_-OL

Petition on Probation and Supervised Release

COMES NOW MARNIE KLYMAN PROBATION OFFICER OF TI-IE COURT presenting an
ofiicial report upon the conduct and attitude of Carmen Binns who was placed on supervision by the Honorable
Samuel H. Mays, .lr sitting in the Court at Memphis, TN on the ;lit day of ._I_ulywl LO_Z who fixed the period of
supervision at three §3 Lyears*, and imposed the general terms and conditions theretofore adopted by the court and
also imposed special conditions and terms as follows:

l. The defendant participate in the Home Detention program for a period of Hve (5) Hve months (satisiied).

2. The defendant shall be prohibited nom incurring new credit charges, opening additional lines of credit, or
making an obligation for any major purchases without approval of the Probation Ofiicer.

3. The defendant shall provide the Probation Oiiicer access to any requested financial information

4. The defendant shall provide third party risk notification as directed by the Probation Officer.
5. The defendant shall pay restitution in the amount of $30,325.00 ($26,550.00 remaining balance).

*Term of Supervised Release began May 8, 2003.
RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
After reviewing Ms. Binns monthly income and monthly necessary expenses, the Probation ()Hice has determined

that 10% of her monthly gross income is an appropriate payment plan.

PRAYING THAT THE COURT WILL ORDER that Ms. Carmen Binns’ restitution payments be set at ten
(10%) percent of her monthly gross income.

ORDER OF COURT Rcspectfully,
Considered and or ered this q M‘ day M_H_M___
of F\"M, 201v and ordered filed and Marnie Klyman

_’

made a part of injj)rdzylt}i§j|boqv:ca:\ U.S. Probation Oiiicer

Place l\/Iemnhisq Tennessee

 

United States District Judge
Date June 2. 2005

  

"'his r§oc‘._:;'nant entered on the docket-st'ioe‘ in eempiiance l
l », , .P (2 `¢’ l
,~v.tn P.u|e -..-:;~ anchor 32{&); rHorP on \_j

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 96 in
case 2:0]-CR-20250 Was distributed by faX, mail, or direct printing on
June 9, 2005 to the parties listed.

 

Michael J. Stengel
STENGEL LAW FIRM
50 North Front Street

Ste. 850

l\/lemphis7 TN 38103--1 ll

Timothy R. DiScenZa

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Sarnuel Mays
US DISTRICT COURT

